                Case: 22-50834           Document: 94       Page: 1      Date Filed: 06/08/2023

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     Mr. Lyle W. Cayce
     Clerk, United States Court of Appeals
      for the Fifth Circuit
     600 S. Maestri Place
     New Orleans, Louisiana 70130

     Re:      United States v. Jose Gomez Quiroz, Appeal No. 22-50834
              Defendant-Appellee’s Rule 28(j) Letter

     Dear Mr. Cayce:

            The Government’s defense here of 18 U.S.C. § 922(n)’s indictee firearm
     restriction relies heavily on the Third Circuit’s panel opinion in Range v. Attorney
     General, 53 F.4th 262 (3d Cir. 2022)—which was vacated when that court granted
     rehearing en banc, a month before oral argument in this case. See Gov’t Br. 19, 20,
     22–23, 25, 31, 37–38, 40; Gov’t Reply 4, 17. The en banc Third Circuit’s opinion has
     now issued: No. 21-2835, 2023 WL 3833404 (3d Cir. June 6, 2023). It rejects the
     panel’s opinion and the arguments the Government pushes here.

           Applying the framework mandated by New York State Rifle & Pistol
     Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022), Range holds that 18 U.S.C.
     § 922(g)(1), which bars felons from possessing firearms, violates the Second
     Amendment as applied to certain offenders.

            On Bruen’s first step, Range roundly rejects the Government’s argument,
     advanced here too, that “the people” protected by the Second Amendment includes
     only “law-abiding, responsible citizens.” Compare 2023 WL 3833404, at *3–5, with
     Gov’t Br. 18–25. The court’s reasoning mirrors Quiroz’s arguments. See Quiroz Br.
     15–20.
          Case: 22-50834    Document: 94    Page: 2   Date Filed: 06/08/2023

Page 2                                                          FEDERAL PUBLIC DEFENDER
                                                                  WESTERN DISTRICT OF TEXAS



      On Bruen’s second step, Range also rejects much of the historical evidence the
Government relies on here. See 2023 WL 3833404, at *5–8. Range holds that laws
disarming groups of purportedly dangerous or unvirtuous people are “far too broad”
an analogy for § 922(g)(1). Compare id. at *6, with Gov’t Br. 35–42; Gov’t Reply 17–
18. Range also discredits reliance on pre-Bruen caselaw and references to so-called
“longstanding prohibitions” that are unsupported by historical evidence. Compare
2023 WL 3833404, at *5–7, with Gov’t Br. 19, 23–25. Here, the Government also
argues that the historical power to detain certain indictees pretrial necessarily
supports the power to impair any indictee’s firearm rights. Gov’t Br. 29–34; Gov’t
Supp. Br. 7–11. Range rejects a similar comparison to the historical use of capital
punishment for felons, explaining that the greater power to execute certain people
does not imply the lesser power to disarm. 2023 WL 3833404, at *6–7.

                                        Respectfully Submitted,

                                        MAUREEN SCOTT FRANCO
                                        Federal Public Defender


                                        /s/ Timothy M. Shepherd
                                        TIMOTHY M. SHEPHERD
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cc:      AUSAs Charles E. Fowler, Jr. and Joseph H. Gay, Jr.,
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